June 4, 2019

The Honorable Jesse M. Furman
United States District Court for the Southern District of New York
40 Centre Street, Room 2202
New York, NY 10007

       RE:     NYIC Plaintiffs’ reply in support of motion for an order to show cause in State of
               New York, et al. v. U.S. Dep’t of Commerce, et al., 18-CV-2921 (JMF)

Dear Judge Furman:

        Defendants’ response does not deny that damning new evidence reveals hyper-partisan
and racially discriminatory motives at the root of the citizenship question. Defendants do not
deny that (1) Dr. Hofeller is the person who came up with the Voting Rights Act rationale for
adding a citizenship question to the 2020 Census, that (2) Dr. Hofeller ghostwrote a letter from
DOJ to Commerce setting forth the VRA rationale for adding a citizenship question, and that
(3) Mark Neuman gave John Gore this draft DOJ letter at a meeting between Neuman and Gore
that was arranged by the Commerce Department’s General Counsel. Most astonishingly, even
though it is undisputed that Dr. Hofeller was the one who suggested a citizenship question to
Neuman and the Trump transition in the first place, Defendants do not say whether Commerce
officials knew of Dr. Hofeller’s conclusion that adding a citizenship question to the 2020 Census
would benefit “Republicans and Non-Hispanic Whites” in redistricting. And it is the Commerce
Department’s decision to add the citizenship question that is at issue.

         Faced with the new evidence, Defendants’ position seems to be that, sure, maybe the
Commerce Department co-opted the idea put forth by a partisan operative who believed that a
citizenship question on the 2020 Census would entrench the political power of “Republicans and
Non-Hispanic Whites.” And, sure, maybe this same partisan operative was also the one who,
acting through a Commerce Department emissary, supplied DOJ’s VRA enforcement rationale
that purports to advance the political power of Hispanics. But, Defendants say, none of this
matters because John Gore, the DOJ official who executed the plan, was not fully read into its
details, and because Secretary Ross purportedly “provided an objectively rational basis” for a
decision that, we now know, had its origins in open racial discrimination. Gov’t Br. 5. But the
Administrative Procedure Act demands that federal agencies explain the real reasons for their
actions. It does not permit federal agencies to lie to the public about why they act, so long as the
employee tasking with implementing policy has plausible deniability.

         In any event, the Justice Department’s hands are not clean. DOJ failed to correct
Neuman’s false testimony that his October 2017 meeting with Gore was not about a draft DOJ
letter and that Neuman “wasn’t part of the drafting process of the [DOJ] letter.” ECF 595 Ex. B
at 114, 273. Defendants now seem to acknowledge that DOJ knew all along that this testimony
was false. But they argue that all can be forgiven because DOJ produced Gore’s copy of the
Neuman letter—even though DOJ initially withheld the document and then produced it in a
dump of 92,000 pages, with a new Bates number, three days before Gore’s deposition,
accompanied by a representation that DOJ was unable to provide any information about the
document’s “author, recipient, date, or time.” Ex. 1, 1-C. Thus, when Defendants assert that


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Plaintiffs have “long known that Gore had the Neuman letter,” Gov’t Br. 3, they omit that they
successfully concealed the fact that Gore had received this letter from Neuman.

       Defendants’ misconduct is apparent. The Court can and should authorize targeted
discovery to determine the full extent to which a fraud on the court has occurred and if “the very
temple of justice has been defiled.” Universal Oil Prod. Co. v. Root Ref. Co., 328 U.S. 575, 580
(1946); see also Chambers v. NASCO, Inc., 501 U.S. 32, 44 (1991) (recognizing court’s inherent
power to investigate whether “it has been the victim of fraud”); Sussman v. Bank of Israel, 56
F.3d 450, 459 (2d Cir. 1995) (noting court’s “inherent power” to “sanction counsel or a litigant
for bad-faith conduct”).

       1. Beyond their failure to deny the previously undisclosed facts above, Defendants’
response raises far more questions than it answers. Defendants carefully deny that “DOJ or Gore
had the Hofeller study and based the Gary Letter on its contents.” Gov’t Br. 2. But Defendants
make no attempt to explain:

   Did anyone at Commerce (including Neuman) have Dr. Hofeller’s 2015 study?
   Did anyone at Commerce (including Neuman) know that Dr. Hofeller—before suggesting a
    citizenship question to the transition—had concluded that adding a citizenship question
    would enable redistricting advantageous to “Republicans and Non-Hispanic Whites”?
   Even if they did not have a copy of Dr. Hofeller’s 2015 study, did anyone at Commerce
    (including Neuman) appreciate that adding a citizenship question would enable redistricting
    advantageous to “Republicans and Non-Hispanic Whites”?
   Did anyone at DOJ appreciate that adding a citizenship question would enable redistricting
    advantageous to “Republicans and Non-Hispanic Whites”?
   Who asked Dr. Hofeller to ghostwrite the VRA rationale that appears in the draft DOJ letter
    that Neuman gave Gore? Someone must have asked Dr. Hofeller to draft it.
   How did Dr. Hofeller’s ghostwritten VRA rationale reach Neuman? Did Commerce officials
    relay it? Did Hofeller give it to Neuman directly?
   Why didn’t Gore identify Neuman at deposition when he provided a list of other people who
    provided input in drafting the DOJ letter? See ECF 595 Ex. E at 150:9-151:20.
   Why didn’t DOJ disclose on its privilege log that the draft DOJ letter came from Neuman?
   Why didn’t DOJ correct Neuman’s materially false testimony that his October 2017 meeting
    with Gore was not about a draft DOJ letter requesting a citizenship question on the 2020
    Census, that Neuman gave Gore only a different document at that meeting, and that Neuman
    was not involved in the drafting process for the DOJ letter at all?
   Are Defendants now asserting that Gore’s motivation and guide for requesting a citizenship
    question was the Evenwel case about potential use of citizenship data in redistricting, as
    opposed to VRA enforcement? Are Defendants asserting that Gore relied on amicus briefs
    from Evenwel which concluded that ACS data was sufficient for VRA enforcement and that
    adding a citizenship question to the Census would depress turnout and reduce accuracy?

       2. Defendants spend a page of their brief asserting that Gore, in describing the
shortcomings of ACS data, relied on an amicus brief from former Census Directors in Evenwel v.
Abbott, 136 S. Ct. 1120 (2016). But there is no declaration from Gore saying that is what he did,
and Defendants cite nothing supporting their assertion. Importantly, the Census Directors


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reached the opposite conclusion that Gore did: they concluded that ACS citizenship data are
sufficient for VRA enforcement purposes, that it is not possible to obtain accurate CVAP data
through a citizenship question on the census, and that adding a citizenship question to the census
is “not a solution.” Gov’t Ex. D at 5, 22-24. The other briefs cited by Defendants agreed. See
Br. of Nathaniel Persily et al. at 27 (“ACS CVAP data” are “the best and only information on
citizenship rates,” and are “indispensable … in section 2 challenges”);1 Br. of Democratic Nat’l
Comm. at 19 n.5; Br. for United States at 24. All four briefs did, however, argue that ACS
citizenship data are insufficiently precise for the purpose of switching to citizen voting-age
population as the redistricting population base—which was the goal of the Evenwel plaintiffs,
136 S. Ct. at 1126, and the very reason that Dr. Hofeller advocated adding a citizenship question
to the 2020 Census, ECF 595 Ex. D at 7-9. Thus, if Gore relied on the Evenwel briefs, it only
supports an inference that the true purpose of adding a citizenship question was not VRA
enforcement, but rather to facilitate a redistricting strategy that would “advantage[] … Non-
Hispanic Whites,” at the expense of “the major minority groups in the nation.” Id.

       Moreover, we still do not know whether and to what extent James Uthmeier, Peter
Davidson, or anyone else at Commerce who relayed the VRA rationale to Gore was relying on
Dr. Hofeller or his 2015 study.

        The Court can get to the bottom of this. Since Defendants have now squarely put Gore’s
process of drafting the letter in issue, they have waived deliberative-process privilege over any
documents related to Gore’s drafting process. See e.g., Allstate Ins. Co. v. Serio, No. 97-cv-
0670, 2000 WL 554221, at *11 (S.D.N.Y. May 30, 2002) (deliberative process “cannot be used
as both a shield and a sword”); Conte v. Cty. of Nassau, No. 06-cv-4746, 2009 WL 1362784, at
*3-*4 (E.D.N.Y. May 15, 2009) (noting “deliberative process privilege is a sub species of the
work-product privilege,” separately noting “‘work product privilege cannot at once be used as a
shield and a sword’” (quoting Kidder, Peabody & Co., Inc. v. IAG Int’t Acceptance Grp., N.V.,
1997 WL 272405 (S.D.N.Y. May 21, 1997))). The Court should order production of all such
documents, including all 18 drafts and the records of the 10 participants beyond Gore who
participated in drafting the letter, as well as Mr. Uthmeier’s memo and cover note. These
materials are identified on Exhibit 3.

        Waiver aside, Defendants’ prior claims of deliberative-process privilege should now be
overcome. Deliberative-process privilege “disappears altogether when there is any reason to
believe government misconduct occurred.” In re Sealed Case, 121 F.3d 729, 746 (D.C. Cir.
1997); see also Texaco Puerto Rico, Inc. v. Dep’t of Consumer Affairs, 60 F.3d 867, 885 (1st Cir.
1995) (similar). And even if this privilege did still apply, disclosure is warranted under the
relevant balancing test. In re Delphi Corp., 276 F.R.D. 81, 85 (S.D.N.Y. 2011). This evidence
is directly relevant to the propriety of sanctions and other appropriate relief.

        3. With respect to Neuman, Defendants’ “I hardly knew the guy” defense is stunning.
Defendants now insist that “Neuman is not a governmental employee” and that “[h]is acts or
omissions are thus not attributable to the government.” Gov’t Br. 4. But Defendants previously
asserted in this very lawsuit—in successfully invoking deliberative-process privilege over

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  Dr. Persily wrote today that he is “outraged that my work is being misrepresented by the DOJ in its most recent
filing in the census case before the SDNY.” See https://twitter.com/persily/status/1135973410117341184.



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communications with Neuman—that Neuman “functioned as a trusted adviser and consultant to”
Commerce, “act[ed] analogously to an agency employee,” and that “he and Commerce were
engaged in a common enterprise of seeking to improve the 2020 Census.” ECF 451 at 3
(emphases added); see also ECF 451-2 (Uthmeier declaration explaining importance of
Neuman’s role). Having characterized Neuman in this manner to conceal his communications,
Defendants cannot cut Neuman loose now that the true extent of his role has come to light. And
they cannot contend that Neuman’s motivations in working with Secretary Ross to achieve the
“common enterprise” of adding a citizenship question to the 2020 Census—or Neuman’s
discussions with Dr. Hofeller—are irrelevant to whether Commerce’s decision was the product
of “discriminatory animus.” Gov’t Br. 5.

         As for his testimony, Neuman represented that he “wasn’t part of the drafting process of
the [DOJ] letter,” specifically denied that his October 2017 meeting with Gore was about a
“letter from DOJ regarding the citizenship question,” and failed to disclose that he provided the
draft letter to Gore, testifying instead that he provided another document. ECF 595 Ex. B at
114:15-21, 123:20-124:24, 273:10-21. Neuman denied, moreover, that “Hofeller was one of the
people [Neuman] relied on for expertise on the Voting Rights Act.” Id. at 143:25-144:6. All of
that testimony was false, or, at a minimum, remarkably misleading. Defendants deny that
Neuman testified that he “only” gave one document to Gore, Gov’t Br. 4, but they do not deny
that he falsely testified that the meeting was not about the citizenship question. There was no
reason to ask Neuman whether he gave the ghostwritten DOJ letter to Gore after he denied that
the meeting even concerned the DOJ letter. Defendants also say that Neuman failed to inform
Plaintiffs of Dr. Hofeller’s role in drafting the VRA rationale solely because the questioner told
Neuman, “I’m not asking you to tell me about who the original author was.” Gov’t Br. 4.
Defendants are playing games. A few questions earlier, Neuman had already testified, “I’m not
sure who the original author is.” ECF 595 Ex. B at 280:12-13. Then, in response to a different
question about the draft letter, Neuman repeated, non-responsively, that he couldn’t “figure out
who [the] original author is.” Id. at 281:10-6. The questioner was simply advising Neuman that
he had switched to an entirely different question.

        Defense counsel present at Neuman’s deposition (including Uthmeier) apparently knew
that Neuman had given the draft DOJ letter to Gore at the October 2017 meeting, but never
corrected the record. And Defendants told this Court that “[t]he record does not indicate that Mr.
Neuman provided any particularly significant consultations on the citizenship question … during
his conversations with Commerce officials in 2017.” ECF 346 at 2.

      Discovery is warranted into communications between Defendants and defense counsel
and Neuman and his counsel, as well as the extent to which Defendants knew the falsity of
Neuman’s testimony.

        4. Gore testified he “drafted the initial draft of the letter to request the citizenship
question sometime around the end of October or early November 2017.” ECF 595 Ex. E at
150:9-151:20 (emphasis added). But Gore subsequently told congressional investigators that
Neuman provided a draft letter to him during a meeting earlier in the month of October after
Commerce General Counsel Peter Davidson asked Neuman and Gore to meet. ECF 595 Ex. G.
As discussed above, Gore also conspicuously omitted Neuman from the long list of individuals
internal and external to DOJ whom were consulted about the DOJ request. Even more


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perplexing, on the same page of the same response letter, Defendants simultaneously state that
“Gore disclosed that he talked to Neuman while drafting the Gary Letter,” Gov’t Br. 3 (citing
testimony where Gore did not mention the Gary Letter and invoked the deliberative process
privilege), and that “the reason Gore did not identify Neuman or Hofeller as people who
provided input on the Gary Letter is that neither Neuman nor Hofeller provided any input on the
Gary Letter.” Id. Which is it?

        Defendants stress that DOJ produced its copy of the draft letter that Neuman gave Gore.
But they fail to disclose that this document was withheld from DOJ’s production on October 3
and was logged with none of the identifying information required under Rule 26(b)(5) or Local
Rule 26.2(a)(2)(A). Ex 1-A entry 15199. And after Plaintiffs promptly challenged this entry,
Ex. 1-B, Defendants delayed release of DOJ’s copy of the document until three days before
Gore’s deposition, when it was relabeled as a different Bates number (DOJ 129991) and
produced with nearly 92,000 pages of additional production, Ex. 1-C. Even then, Defendants
failed to disclose that Neuman gave Gore the document, instead representing that they were
unable to provide information regarding “author, recipient, date, or time.” Id. Indeed, until their
response yesterday, Defendants never acknowledged that the document in Gore’s possession was
from Neuman. The fact is that Plaintiffs did not know, and had no way of knowing until
recently, that Neuman gave Gore that draft letter. The Court should permit discovery into
Defendants’ handling of this document.

       5. In addition to the sanction-related discovery described above, the Court should
authorize the following additional limited discovery relevant to sanctions:

   Neuman should be ordered, pursuant to the subpoena Plaintiffs previously issued, promptly
    to produce all of his communications with Dr. Hofeller, Dale Oldham, Gore, Uthmeier,
    and/or other Administration personnel.
   A subpoena to Dale Oldham, Dr. Hofeller’s former business partner, who we understand took
    Dr. Hofeller’s work computer(s) (as opposed to external electronic storage devices).
   Further depositions of Neuman and Gore on these topics, as well as a deposition of Uthmeier.
    In the alternative, these individuals should be called to a hearing for cross-examination.

                                         *       *      *

        Defendants take Plantiffs to task for failing to discover earlier a handful of documents
relevant to this case that appeared on external electronic storage devices produced to Plaintiffs’
counsel in a separate litigation in North Carolina. Plaintiffs’ counsel brought the newly
discovered evidence at issue here to this Court’s attention within one week after discovering it.
It is Defendants—not Plaintiffs—who have known the truth this entire time. Had Defendants not
actively concealed Dr. Hofeller’s role in orchestrating the addition of the citizenship question
through discovery misconduct in this case, Plaintiffs would have made this material a central part
of their case in chief. Defendants should not now be heard to say that it is too late.




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                                            Respectfully submitted,

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                                              By:   /s/ John A. Freedman       _


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